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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                                CASE NO. 3:97cr24LAC

GUS JONES

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on     MAY 13, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2) and Sealed Document in Support
Filed by DEFENDANT PRO SE                 on 5/8/2008 Doc.# 111 & 112

RESPONSES:
                                               on                       Doc.#
                                               on                       Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the    foregoing,       it   is     ORDERED      this   1 st   day   of
July, 2008, that:
(a) The relief requested is DENIED.
(b) Pursuant to the guideline amendments, a defendant who is held responsible for
over 4.5 kilos of cocaine base does not receive relief from Amendment 706 and
711. The defendant is responsible for the distribution of 5 to 10 kilograms of
cocaine base, which is over the 4.5 kilograms of cocaine base to trigger the
amendment.    In addition, defendant was and would still today be facing a
mandatory life sentence. Defendant was sentenced to 180 months, a sentence well
below the mandatory life sentence, as a result of a 5K1.1 motion and a Rule 35
motion filed by the Government. Based upon the facts and circumstances of this
case, 180 months is still the appropriate sentence.


Entered On Docket:                    By:                        s /L.A. Collier
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP                  LACEY A. COLLIER
Copies sent to:                                     Senior United States District Judge




                               Document No.
